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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
OCALA DIVISION

CASE NO.: 5:11-CV-122-oc-10TBS

VANLINER INSURANCE COMPANY,
a/s/o EAST END TRANSFER AND
STORAGE, INC.; UNITED VAN
LINES, LLC; EAST END TRANSFER
AND STORAGE, INC.; and JOHN NEWSON,

Plaintiffs,
v.
ABF FREIGHT SYSTEM, INC.; WILLIE L.
PERRY; MAVERICK TRANSPORTATION, INC.;
and RICHARD DYE,

Defendants
/

GREAT WESTERN CASUALTY COMPANY, a/s/o

MAVERICK TRANSPORTATION, INC.; and

MAVERICK TRANSPORTATION, INC., Individually,
Cross-Claim Plaintiffs,

Vv.

ABF FREIGHT SYSTEM, INC.,

Cross-Claim Defendant.
/

DEFENDANTS ABF FREIGHT SYSTEM, INC. AND WILLIE L. PERRY’S
MOTION IN LIMINE TO PREVENT OPPOSING PARTIES FROM ARGUING OR
OFFERING EVIDENCE SUGGESTING SPOLIATION OF EVIDENCE

COME NOW the Defendants, ABF FREIGHT SYSTEM, INC. (hereinafter,
“ABF”) and WILLIE L. PERRY (hereinafter, “PERRY” ), by and through undersigned

counsel, and pursuant to the applicable Florida and Federal Rules of Civil Procedure, hereby

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file their Motion In Limine to Prevent Opposing Parties from Arguing or Offering Evidence
Suggesting Spoliation of Evidence on ABF’s part, and in support thereof state as follows:

1. On reason and belief, Defendants ABF and PERRY believe that the Plaintiffs
and co-Defendant MAVERICK may attempt to offer at trial argument and evidence relating
to previous allegations of spoliation of evidence against ABF. Specifically, Defendant
MAVERICK had previously sought sanctions and a negative inference jury instruction
against ABF [D.E. 31] by alleging that ABF had failed to download and/or save certain ECM
(electronic control module) data from its tractor following the accident in question.

2. The Spoliation issue was fully briefed by the parties and oral argument on the
matter was held before Magistrate Judge Thomas B. Smith on February 6, 2012. Being fully
advised in the premises, the Court issued its Order [D.E. 53] denying Maverick’s Motion for
Sanctions, specifically finding that “...Maverick has failed to demonstrate that the allegedly
spoliated evidence was crucial to its case or defense, which is an essential element of the
spoliation claim. As such, a negative inference jury instruction at trial would be
inappropriate.” Id, page 4.

3. This Court, therefore, has already ruled on this matter, an any reference,
testimony or introduction into evidence from the Plaintiffs or co-Defendant MAVERICK
arguing that there was spoliation of evidence or a conspiracy and/or deliberate or negligent
destruction of evidence concerning the ECM data download of the ABF tractor following the
accident in this case is unwarranted and highly inappropriate. There is no evidence to
support such an argument, and if presented to the jury, would be highly prejudicial to the
Defendants while offering no probative value. Fed.R-Evid. 401, 402 and 403.

4. Accordingly, the Movants herein request this Honorable Court enter an Order

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in Limine preventing counsel for Plaintiffs and counsel for co-Defendant MAVERICK from
arguing or presenting evidence relating to the ECM data spoliation issue, and precluding said
counsel from referring to data or materials not extracted from the ECM data download of the
ABF tractor performed following the accident in this case.
MEMORANDUM OF LAW

A Motion in Limine, whether made before or during trial, seeks to exclude anticipated
prejudicial evidence before the evidence is actually offered. Luce v. United States, 469 U.S.
38 (1984); Bismark v. Lang, 2006 U.S. Dist. LEXIS 15158 (M.D. Fla. 2006); Aero Mktg. v.
Ballistic Recovery Sys., 2005 U.S. Dist. LEXIS 45927 (M.D. Fla. 2005); Pinchinat v. Graco
Children’s Prods., 2005 U.S. Dist. LEXIS 37181 (M.D. Fla. 2005). Although the Federal
Rules of Evidence do not explicitly authorize motions in limine, they form a part of the
district court’s inherent authority to manage the course of trials. See Generally Fed.R.Evid.
103(c); see also Ohler v. United States, 529 U.S. 753 (2000); Luce, supra at 41n.4. A district
court has a broad discretion to determine the admissibility of evidence under the federal
rules. Sprint Back Splash United Mgmt. Co. v. Mendelsohn, 128 S.Ct. 1140 (2008); United
States v. Abel, 469 U.S. 45 (1984); Lathem v. Department of Children and Youth Servs., 172
F.3d 786 (11th Cir. 1999); Hines v. Brandon Steel Decks, Inc., 886 F.2d 299 (11th Cir.
1989), Cert. Denied, 503 U.S. 971 (1992).

Rule 4.01 of the Federal Rules of Evidence provides that evidence is relevant if it has
“any tendency to make the existence of any fact that is of consequence to the determination
of the action more probative or less probative than it would be without the evidence.”
Relevant evidence is admissible, Fed.R.Evid. 402, although a court may exclude relevant

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evidence “if its probative value is substantially outweighed by the danger of unfair prejudice,
confusion of the issues, or misleading the jury...” Fed.R.Evid. 403.
WHEREFORE, Defendants ABF FREIGHT SYSTEM, INC. and WILLIE L.
PERRY, pray that the Court grant enter an Order: (1) granting this Motion; and (2) awarding
such further relief as the Court may deem just and proper.
CERTIFICATION

I HEREBY CERTIFY that I have conferred with counsel for all other parties
represented in this action, and no agreement could be unanimously reached.

Respectfully submitted this [ | day of April, 2012.

/s/Dale J. Spurr

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that this / / day of April, 2012, I electronically filed the
foregoing document with the Clerk of Court using CM/ECF. I also certify that the foregoing
document is being served this day on all counsel of record or pro se parties identified on the
attached Service List in the manner specified, either via transmission of Notices of Electronic
Filing generated by CM/ECE or in some other authorized manner for those counsel or parties
who are not authorized to receive electronically Notices of Electronic Filing.

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